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   13 Defendants CHRISTOPHER HANSTAD,
      JESUS “JESSE” DORADO, BARRY
   14 SUTHERLAND, GLASSWERKS LA, INC.,
      and RANDY STEINBERG
   15
   16                             UNITED STATES DISTRICT COURT
   17        FOR THE CENTRAL DISTRICT OF CALIFORNIA, EASTERN DIVISION
   18 C.R. LAURENCE CO., INC., a                      Case No. 2:21-cv-01334-JWH (RAOx)
      California corporation,
   19                                                 DEFENDANTS’:
                   Plaintiff,
   20                                                 (1) ANSWER TO PLAINTIFF’S
              v.                                          THIRD AMENDED
   21                                                     COMPLAINT, AND
      FRAMELESS HARDWARE                                  AFFIRMATIVE DEFENSES;
   22 COMPANY LLC, a Delaware limited                     AND
      liability company; CHRISTOPHER
   23 HANSTAD, an individual; JESUS                   (2) COUNTERCLAIMS.
      “JESSE” DORADO, an individual,
   24 BARRY SUTHERLAND, an
      individual; GLASSWERKS LA, INC.,                Complaint Filed: February 12, 2021
   25 a California Corporation; and, RANDY            Trial Date:      None Set
      STEINBERG, an individual,
   26
                   Defendants.
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        SMRH:4889-5405-3139.8   DEFENDANTS FHC, ET AL.’S ANSWER TO PLT’S THIRD AMENDED COMPLAINT
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    1 FRAMELESS HARDWARE
      COMPANY LLC, a Delaware limited
    2 liability company,
    3                     Counterclaimant,
    4            v.
    5 C.R. LAURENCE CO., INC., a
      California corporation,
    6
                   Counterdefendant.
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    1            Defendants Frameless Hardware Company LLC (“FHC”), Christopher Hanstad
    2 (“Hanstad”), Jesus “Jesse” Dorado (“Dorado”), Barry Sutherland (“Sutherland”),
    3 Glasswerks LA, Inc. (“Glasswerks”), and Randy Steinberg (“Steinberg”)
    4 (collectively, “Defendants”) hereby respond to the allegations of each paragraph of
    5 Plaintiff C.R. Laurence Co., Inc.’s (“CRL”) Third Amended Complaint (“TAC”)
    6 [ECF Dkt. No. 85] as follows:
    7                                JURISDICTIONAL STATEMENT
    8            1.       The allegations in Paragraph 1 of the TAC state a legal conclusion to
    9 which no response is required. To the extent a response is required, Defendants deny
   10 the allegations in Paragraph 1 of the TAC.
   11                                  PRELIMINARY STATEMENT
   12            2.       Defendants are presently without sufficient information to admit or deny
   13 the allegations in Paragraph 2 of the TAC, and therefore deny those allegations.
   14            3.       Defendants deny the allegations in Paragraph 3 of the TAC.
   15            4.       The allegations in Paragraph 4 of the TAC state a legal conclusion to
   16 which no response is required. To the extent a response is required, Defendants deny
   17 the allegations in Paragraph 4 of the TAC.
   18                                           THE PARTIES
   19            5.       Defendants are presently without sufficient information to admit or deny
   20 the allegations in Paragraph 5 of the TAC, and therefore deny those allegations.
   21            6.       Defendants admit the allegations in Paragraph 6 of the TAC.
   22            7.       Defendants admit the allegations in Paragraph 7 of the TAC.
   23            8.       Defendants admit the allegations in Paragraph 8 of the TAC.
   24            9.       Defendants admit the allegations in Paragraph 9 of the TAC.
   25            10.      Defendants admit the allegations in Paragraph 10 of the TAC.
   26            11.      Defendants admit the allegations in Paragraph 11 of the TAC.
   27 ///
   28 ///

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    1                                  JURISDICTION AND VENUE
    2            12.      The allegations in Paragraph 12 of the TAC state a legal conclusion to
    3 which no response is required. To the extent a response is required, Defendants deny
    4 the allegations in Paragraph 12 of the TAC.
    5            13.      The allegations in Paragraph 13 of the TAC state a legal conclusion to
    6 which no response is required. To the extent a response is required, Defendants deny
    7 the allegations in Paragraph 13 of the TAC.
    8            14.      The allegations in Paragraph 14 of the TAC state a legal conclusion to
    9 which no response is required. To the extent a response is required, Defendants deny
   10 the allegations in Paragraph 14 of the TAC.
   11            15.      The allegations in Paragraph 15 of the TAC state a legal conclusion to
   12 which no response is required. To the extent a response is required, Defendants deny
   13 the allegations in Paragraph 15 of the TAC.
   14                                   FACTUAL ALLEGATIONS
   15            16.      Defendants are presently without sufficient information to admit or deny
   16 the allegations in Paragraph 16 of the TAC, and therefore deny those allegations.
   17            17.      Defendants are presently without sufficient information to admit or deny
   18 the allegations in Paragraph 17 of the TAC, and therefore deny those allegations.
   19            18.      Defendants are presently without sufficient information to admit or deny
   20 the allegations in Paragraph 18 of the TAC, and therefore deny those allegations.
   21            19.      Defendants admit only that FHC employee Gary Sprague is named as an
   22 inventor for the ’413 Patent. Defendants are presently without sufficient information
   23 to admit or deny the remaining allegations in Paragraph 19 of the TAC, and therefore
   24 deny those allegations.
   25            20.      Defendants admit only that CRL offers to certain customers the
   26 Storefronts Online, Showers Online, and Hand Rails Online software applications
   27 (hereafter, the “Online Computer Programs”). Defendants are presently without
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    1 sufficient information to admit or deny the remaining allegations in Paragraph 20 of
    2 the TAC, and therefore deny those allegations.
    3            21.      Defendants admit only that CRL offers to certain customers the
    4 Storefronts Online computer program that allows customers to design and quote
    5 storefront components. Defendants are presently without sufficient information to
    6 admit or deny the remaining allegations in Paragraph 21 of the TAC, and therefore
    7 deny those allegations.
    8            22.      Defendants admit only that CRL offers to certain customers the Showers
    9 Online computer program that allows customers to design and quote shower
   10 components. Defendants are presently without sufficient information to admit or
   11 deny the remaining allegations in Paragraph 22 of the TAC, and therefore deny those
   12 allegations.
   13            23.      Defendants admit only that CRL offers to certain customers the Hand
   14 Rails Online computer program that allows customers to design and quote handrail
   15 components. Defendants are presently without sufficient information to admit or
   16 deny the remaining allegations in Paragraph 23 of the TAC, and therefore deny those
   17 allegations.
   18            24.      Defendants are presently without sufficient information to admit or deny
   19 the allegations in Paragraph 24 of the TAC, and therefore deny those allegations. The
   20 second sentence in Paragraph 24 of the TAC states a legal conclusion to which no
   21 response is required. To the extent a response is required, Defendants deny the
   22 allegations in the second sentence of Paragraph 24 of the TAC.
   23            25.      Defendants are presently without sufficient information to admit or deny
   24 the allegations in Paragraph 25 of the TAC, and therefore deny those allegations.
   25            26.      Defendants are presently without sufficient information to admit or deny
   26 the allegations in Paragraph 26 of the TAC, and therefore deny those allegations.
   27            27.      Defendants are presently without sufficient information to admit or deny
   28 the allegations in Paragraph 27 of the TAC, and therefore deny those allegations.

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    1            28.      Defendants admit only that what the ’413 Patent states is stated in the
    2 patent. Defendants are presently without sufficient information to admit or deny the
    3 remaining allegations in Paragraph 28 of the TAC, and therefore deny those
    4 allegations.
    5            29.      Defendants admit the allegations in Paragraph 29 of the TAC.
    6            30.      Defendants admit that Sprague was an employee of CRL at the time the
    7 ’413 Patent application was filed through the time it issued. Defendants are presently
    8 without sufficient information to admit or deny the remaining allegations in Paragraph
    9 30 of the TAC, and therefore deny those allegations.
   10            31.      Defendants are presently without sufficient information to admit or deny
   11 the allegations in Paragraph 31 of the TAC, and therefore deny those allegations.
   12            32.      Defendants are presently without sufficient information to admit or deny
   13 the allegations in Paragraph 32 of the TAC, and therefore deny those allegations.
   14            33.      Defendants are presently without sufficient information to admit or deny
   15 the allegations in Paragraph 33 of the TAC, and therefore deny those allegations.
   16            34.      Defendants are presently without sufficient information to admit or deny
   17 the allegations in Paragraph 34 of the TAC, and therefore deny those allegations.
   18            35.      Defendants deny the last sentence in Paragraph 35 of the TAC.
   19 Defendants are presently without sufficient information to admit or deny the
   20 remaining allegations in Paragraph 35 of the TAC, and therefore deny those
   21 allegations.
   22            36.      Defendants are presently without sufficient information to admit or deny
   23 the allegations in Paragraph 36 of the TAC, and therefore deny those allegations.
   24            37.      Defendants are presently without sufficient information to admit or deny
   25 the allegations in Paragraph 37 of the TAC, and therefore deny those allegations.
   26            38.      Defendants are presently without sufficient information to admit or deny
   27 the allegations in Paragraph 38 of the TAC, and therefore deny those allegations.
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    1            39.      Defendants are presently without sufficient information to admit or deny
    2 the allegations in Paragraph 39 of the TAC, and therefore deny those allegations.
    3            40.      Defendants are presently without sufficient information to admit or deny
    4 the allegations in Paragraph 40 of the TAC, and therefore deny those allegations.
    5            41.      Defendants are presently without sufficient information to admit or deny
    6 the allegations in Paragraph 41 of the TAC, and therefore deny those allegations.
    7            42.      Defendants are presently without sufficient information to admit or deny
    8 the allegations in Paragraph 42 of the TAC, and therefore deny those allegations.
    9            43.      Defendants are presently without sufficient information to admit or deny
   10 the allegations in Paragraph 43 of the TAC, and therefore deny those allegations.
   11            44.      Defendants are presently without sufficient information to admit or deny
   12 the allegations in Paragraph 44 of the TAC, and therefore deny those allegations.
   13            45.      Defendants admit only that Hanstad, Dorado, and Sutherland were aware
   14 that CRL offers to certain customers the Online Computer Programs. Defendants
   15 further admit only that when Dorado was employed by CRL, he had certain job
   16 responsibilities related to the Storefronts Online computer program. Defendants deny
   17 the remaining allegations in Paragraph 45 of the TAC.
   18            46.      Defendants admit only that Hanstad’s and Gary Sprague’s employment
   19 by CRL ended in 2018. Defendants are presently without sufficient information to
   20 admit or deny the remaining allegations in Paragraph 46 of the TAC, and therefore
   21 deny those allegations.
   22            47.      Defendants admit only that in or around February 2019, Hanstad
   23 purchased the domain name www.FHC-USA.com. Defendants deny the remaining
   24 allegations in Paragraph 47 of the TAC.
   25            48.      Defendants deny the allegations in Paragraph 48 of the TAC.
   26            49.      Defendants admit only that FHC regards and protects certain of its
   27 business information as confidential, proprietary, and trade secret information.
   28 Defendants deny the remaining allegations in Paragraph 49 of the TAC.

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    1            50.      Defendants admit only that FHC regards and protects certain of its
    2 information as confidential, proprietary, and trade secret information. Defendants
    3 deny the remaining allegations in Paragraph 50 of the TAC. CRL has misquoted and
    4 mischaracterized Hanstad’s statements in a declaration from a separate litigation.
    5            51.      Defendants admit only that in or around April 2019, FHC was
    6 incorporated under the laws of California. Defendants further admit only that FHC’s
    7 initial corporate filings list Hanstad as FHC’s Chief Executive Officer and Chief
    8 Financial Officer. Defendants deny the remaining allegations in Paragraph 51 of the
    9 TAC.
   10            52.      Defendants admit only that Sutherland’s employment by CRL ended in
   11 2019 and that thereafter Sutherland began working for FHC. Defendants deny the
   12 remaining allegations in Paragraph 52 of the TAC.
   13            53.      Defendants admit the allegations in the first sentence of Paragraph 53 of
   14 the TAC. As to the second sentence, Defendants admit that FHC and CRL compete in
   15 some areas. Defendants deny the remaining allegations in Paragraph 53 of the TAC.
   16            54.      Defendants admit only that multiple former CRL employees, including
   17 Dorado, are now employed by FHC. Defendants further admit that Dorado’s
   18 employment by CRL ended in or around April 2020. Defendants deny the remaining
   19 allegations in Paragraph 54 of the TAC.
   20            55.      Defendants deny the allegations in Paragraph 55 of the TAC.
   21            56.      Defendants admit only that Hanstad is FHC’s Chief Executive Officer
   22 and worked at CRL for many years, and that Sutherland is FHC’s Senior Vice
   23 President and worked at CRL for many years. Defendants deny the remaining
   24 allegations in Paragraph 56 of the TAC.
   25            57.      Defendants admit only that FHC’s website references certain CRL
   26 product part numbers. Defendants deny the remaining allegations in Paragraph 57 of
   27 the TAC.
   28            58.      Defendants deny the allegations in Paragraph 58 of the TAC.

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    1            59.      Defendants are presently without sufficient information to admit or deny
    2 the allegations in the first sentence of Paragraph 59 of the TAC, and therefore deny
    3 those allegations. Defendants deny the remaining allegations in Paragraph 59 of the
    4 TAC.
    5            60.      Defendants admit only that Sutherland was employed by CRL for many
    6 years until his employment by CRL ended in 2019. Defendants further admit only
    7 that while he was an employee of CRL, certain of Sutherland’s job duties involved
    8 knowledge of and working with the Online Computer Programs. Defendants deny the
    9 remaining allegations in Paragraph 60 of the TAC.
   10            61.      Defendants admit only that Dorado was employed by CRL until his
   11 employment ended in 2020. Defendants further admit only that while he was an
   12 employee of CRL, certain of Dorado’s job duties involved knowledge of and working
   13 with the Storefronts Online computer program. Defendants deny the remaining
   14 allegations in Paragraph 61 of the TAC.
   15            62.      Defendants admit only that certain of FHC’s employees have, at certain
   16 points in time, accessed the Online Computer Programs. Defendants further admit
   17 that defendants Steinberg and Glasswerks provided certain credentials to FHC in
   18 connection with the Online Computer Programs. The nature and extent of the access
   19 to the Online Computer Programs is set forth in great detail in FHC’s response to
   20 Paragraph 3 of the Court’s July 6, 2021 Order [ECF Dkt. No. 46], served on CRL’s
   21 counsel on July 20, 2021. Defendants deny the remaining allegations in Paragraph 62
   22 of the TAC.
   23            63.      Defendants admit only that certain of FHC’s employees have, at certain
   24 points in time, accessed the Online Computer Programs. The nature and extent of the
   25 access to the Online Computer Programs is set forth in great detail in FHC’s response
   26 to Paragraph 3 of the Court’s July 6, 2021 Order [ECF Dkt. No. 46], served on CRL’s
   27 counsel on July 20, 2021. Defendants deny the remaining allegations in Paragraph 63
   28 of the TAC.

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     1            64.      Defendants admit only that certain of FHC’s employees have, at certain
     2 points in time, accessed the Online Computer Programs. The nature and extent of the
     3 access to the Online Computer Programs is set forth in great detail in FHC’s response
     4 to Paragraph 3 of the Court’s July 6, 2021 Order [ECF Dkt. No. 46], served on CRL’s
     5 counsel on July 20, 2021. Defendants deny the remaining allegations in Paragraph 64
     6 of the TAC.
     7            65.      Defendants are presently without sufficient information to admit or deny
     8 the allegations in the third sentence of Paragraph 65 of the TAC, and therefore deny
     9 those allegations. Defendants deny the remaining allegations in Paragraph 65 of the
    10 TAC.
    11            66.      Defendants admit only that certain of FHC’s employees have, at certain
    12 points in time, accessed the Online Computer Programs. The nature and extent of the
    13 access to the Online Computer Programs is set forth in great detail in FHC’s response
    14 to Paragraph 3 of the Court’s July 6, 2021 Order [ECF Dkt. No. 46], served on CRL’s
    15 counsel on July 20, 2021. Defendants deny the remaining allegations in Paragraph 66
    16 of the TAC.
    17            67.      Defendants admit only that certain of FHC’s employees have, at certain
    18 points in time, accessed the Online Computer Programs. The nature and extent of the
    19 access to the Online Computer Programs is set forth in great detail in FHC’s response
    20 to Paragraph 3 of the Court’s July 6, 2021 Order [ECF Dkt. No. 46], served on CRL’s
    21 counsel on July 20, 2021. Defendants deny the remaining allegations in Paragraph 67
    22 of the TAC.
    23            68.      Defendants admit only that certain of FHC’s employees have, at certain
    24 points in time, accessed the Online Computer Programs. The nature and extent of the
    25 access to the Online Computer Programs is set forth in great detail in FHC’s response
    26 to Paragraph 3 of the Court’s July 6, 2021 Order [ECF Dkt. No. 46], served on CRL’s
    27 counsel on July 20, 2021. Defendants deny the remaining allegations in Paragraph 68
    28 of the TAC.

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     1            69.      Defendants admit only that certain of FHC’s employees have, at certain
     2 points in time, accessed the Online Computer Programs. The nature and extent of the
     3 access to the Online Computer Programs is set forth in great detail in FHC’s response
     4 to Paragraph 3 of the Court’s July 6, 2021 Order [ECF Dkt. No. 46], served on CRL’s
     5 counsel on July 20, 2021. Defendants deny the remaining allegations in Paragraph 69
     6 of the TAC.
     7            70.      Defendants are presently without sufficient information to admit or deny
     8 the allegations in Paragraph 70 of the TAC, and therefore deny those allegations.
     9            71.      Defendants admit only that certain of FHC’s employees have, at certain
    10 points in time, accessed the Online Computer Programs. The nature and extent of the
    11 access to the Online Computer Programs is set forth in great detail in FHC’s response
    12 to Paragraph 3 of the Court’s July 6, 2021 Order [ECF Dkt. No. 46], served on CRL’s
    13 counsel on July 20, 2021. Defendants deny the remaining allegations in Paragraph
    14 71 of the TAC.
    15            72.      Defendants admit only that certain of FHC’s employees have, at certain
    16 points in time, accessed the Online Computer Programs. The nature and extent of the
    17 access to the Online Computer Programs is set forth in great detail in FHC’s response
    18 to Paragraph 3 of the Court’s July 6, 2021 Order [ECF Dkt. No. 46], served on CRL’s
    19 counsel on July 20, 2021. Defendants deny the remaining allegations in Paragraph 72
    20 of the TAC.
    21            73.      Defendants admit only that certain of FHC’s employees have, at certain
    22 points in time, accessed the Online Computer Programs. The nature and extent of the
    23 access to the Online Computer Programs is set forth in great detail in FHC’s response
    24 to Paragraph 3 of the Court’s July 6, 2021 Order [ECF Dkt. No. 46], served on CRL’s
    25 counsel on July 20, 2021. Defendants deny the remaining allegations in Paragraph 73
    26 of the TAC.
    27            74.      Defendants admit only that Sprague’s employment with CRL ended in
    28 2018. Defendants deny the remaining allegations in Paragraph 74 of the TAC.

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     1            75.      Defendants admit only that Sprague began employment with FHC in
     2 2019. Defendants deny the remaining allegations in Paragraph 75 of the TAC.
     3            76.      Defendants admit only that FHC offers a product called the Herc-Door®
     4 and that Sprague was involved in the design of the Herc-Door® product. Defendants
     5 deny the remaining allegations in Paragraph 76 of the TAC.
     6            77.      Defendants deny the allegations in Paragraph 77 of the TAC.
     7            78.      Defendants deny the allegations in Paragraph 78 of the TAC.
     8            79.      Defendants deny the allegations in Paragraph 79 of the TAC.
     9            80.      Defendants admit only that Armando Rodriguez used to work for CRL
    10 and now works for FHC. Defendants deny the remaining allegations in Paragraph 80
    11 of the TAC.
    12            81.      Defendants are presently without sufficient information to admit or deny
    13 the allegations in Paragraph 81 of the TAC, and therefore deny those allegations.
    14            82.      Defendants are presently without sufficient information to admit or deny
    15 the allegations in Paragraph 82 of the TAC, and therefore deny those allegations.
    16            83.      Defendants admit only that in or around July 2021, CRL received a
    17 shipment from a mutual supplier to FHC, that the shipment was intended for FHC,
    18 and that the shipment included a brushed nickel HD Beveled Wall Mount Clamp, part
    19 number CBU4BN. Defendants further admit that FHC’s website advertises the
    20 brushed nickel HD Beveled Wall Mount Clamp, part number CBU4BN, and
    21 compares this product to a similar product sold by CRL. Defendants deny the
    22 remaining allegations in Paragraph 83 of the TAC.
    23            84.      Defendants deny the allegations in Paragraph 84 of the TAC.
    24            85.      Defendants deny the allegations in Paragraph 85 of the TAC.
    25            86.      Defendants admit only that FHC sells a product called a “Venice Hinge”
    26 bearing part number VEN180. Defendants deny the first sentence in Paragraph 86 of
    27 the TAC. Defendants are presently without sufficient information to admit or deny
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     1 the remaining allegations in Paragraph 86 of the TAC, and therefore deny those
     2 allegations.
     3            87.      Defendants admit only that FHC sells a product bearing part number
     4 PHR6X6BN. Defendants are presently without sufficient information to admit or
     5 deny the remaining allegations in Paragraph 87 of the TAC, and therefore deny those
     6 allegations.
     7            88.      Defendants deny the allegations in Paragraph 88 of the TAC.
     8            89.      Defendants deny the allegations in Paragraph 89 of the TAC.
     9            90.      Defendants deny the allegations in Paragraph 90 of the TAC.
    10            91.      Defendants deny the allegations in Paragraph 91 of the TAC.
    11            92.      Defendants admit only that FHC sells a caulking gun for sale on its
    12 website. Defendants deny the remaining allegations in Paragraph 92 of the TAC.
    13            93.      Defendants deny the allegations in Paragraph 93 of the TAC.
    14                                   FIRST CLAIM FOR RELIEF
    15           Violation of Computer Fraud and Abuse Act (18 U.S.C. § 1030 et seq.)
    16       (Against Defendants FHC, Dorado, Sutherland, Glasswerks, and Steinberg)
    17            94.      Defendants FHC, Dorado, Sutherland, Glasswerks, and Steinberg
    18 incorporate their answers to Paragraphs 1-93, set forth above, as if fully stated herein.
    19            95.      The allegations in Paragraph 95 of the TAC consist of legal argument, to
    20 which no response is required. To the extent a response is required, Defendants FHC,
    21 Dorado, Sutherland, Glasswerks, and Steinberg deny the allegations in Paragraph 95
    22 of the TAC.
    23            96.      Defendants FHC, Dorado, Sutherland, Glasswerks, and Steinberg admit
    24 only that certain of FHC’s employees have, at certain points in time, accessed the
    25 Online Computer Programs. The nature and extent of the access to the Online
    26 Computer Programs is set forth in great detail in FHC’s response to Paragraph 3 of
    27 the Court’s July 6, 2021 Order [ECF Dkt. No. 46], served on CRL’s counsel on July
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     1 20, 2021. Defendants FHC, Dorado, Sutherland, Glasswerks, and Steinberg deny the
     2 remaining allegations in Paragraph 96 of the TAC.
     3            97.      Defendants FHC, Dorado, Sutherland, Glasswerks, and Steinberg admit
     4 only that certain of FHC’s employees have, at certain points in time, accessed the
     5 Online Computer Programs. The nature and extent of the access to the Online
     6 Computer Programs is set forth in great detail in FHC’s response to Paragraph 3 of
     7 the Court’s July 6, 2021 Order [ECF Dkt. No. 46], served on CRL’s counsel on July
     8 20, 2021. Defendants FHC, Dorado, Sutherland, Glasswerks, and Steinberg deny the
     9 remaining allegations in Paragraph 97 of the TAC.
    10            98.      Defendants FHC, Dorado, Sutherland, Glasswerks, and Steinberg deny
    11 the allegations in Paragraph 98 of the TAC.
    12            99.      Defendants FHC, Dorado, Sutherland, Glasswerks, and Steinberg admit
    13 only that certain of FHC’s employees have, at certain points in time, accessed the
    14 Online Computer Programs. The nature and extent of the access to the Online
    15 Computer Programs is set forth in great detail in FHC’s response to Paragraph 3 of
    16 the Court’s July 6, 2021 Order [ECF Dkt. No. 46], served on CRL’s counsel on July
    17 20, 2021. Defendants FHC, Dorado, Sutherland, Glasswerks, and Steinberg further
    18 admit that defendants Steinberg and Glasswerks provided certain credentials
    19 regarding the Online Computer Programs to FHC. Defendants FHC, Dorado,
    20 Sutherland, Glasswerks, and Steinberg deny the remaining allegations in Paragraph
    21 99 of the TAC.
    22            100. The allegations in Paragraph 100 of the TAC consist of legal argument,
    23 to which no response is required. To the extent a response is required, Defendants
    24 FHC, Dorado, Sutherland, Glasswerks, and Steinberg deny the allegations in
    25 Paragraph 100 of the TAC.
    26            101. The allegations in Paragraph 101 of the TAC are a summary of the relief
    27 that CRL seeks, to which no response is required. To the extent a response is
    28

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     1 required, Defendants FHC, Dorado, Sutherland, Glasswerks, and Steinberg deny the
     2 allegations in Paragraph 101 of the TAC.
     3                               SECOND CLAIM FOR RELIEF
     4           Violation of California Computer Data Access (Cal. Penal Code § 502)
     5       (Against Defendants FHC, Dorado, Sutherland, Glasswerks, and Steinberg)
     6            102. Defendants FHC, Dorado, Sutherland, Glasswerks, and Steinberg
     7 incorporate their answers to Paragraphs 1-101, set forth above, as if fully stated
     8 herein.
     9            103. The allegations in Paragraph 103 of the TAC consist of legal argument,
    10 to which no response is required. To the extent a response is required, Defendants
    11 FHC, Dorado, Sutherland, Glasswerks, and Steinberg deny the allegations in
    12 Paragraph 103 of the TAC.
    13            104. Defendants FHC, Dorado, Sutherland, Glasswerks, and Steinberg admit
    14 only that certain of FHC’s employees have, at certain points in time, accessed the
    15 Online Computer Programs. The nature and extent of the access to the Online
    16 Computer Programs is set forth in great detail in FHC’s response to Paragraph 3 of
    17 the Court’s July 6, 2021 Order [ECF Dkt. No. 46], served on CRL’s counsel on July
    18 20, 2021. Defendants FHC, Dorado, Sutherland, Glasswerks, and Steinberg deny the
    19 remaining allegations in Paragraph 104 of the TAC.
    20            105. Defendants FHC, Dorado, Sutherland, Glasswerks, and Steinberg admit
    21 only that certain of FHC’s employees have, at certain points in time, accessed the
    22 Online Computer Programs. The nature and extent of the access to the Online
    23 Computer Programs is set forth in great detail in FHC’s response to Paragraph 3 of
    24 the Court’s July 6, 2021 Order [ECF Dkt. No. 46], served on CRL’s counsel on July
    25 20, 2021. Defendants FHC, Dorado, Sutherland, Glasswerks, and Steinberg deny the
    26 remaining allegations in Paragraph 105 of the TAC.
    27            106. Defendants FHC, Dorado, Sutherland, Glasswerks, and Steinberg admit
    28 only that certain of FHC’s employees have, at certain points in time, accessed the

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     1 Online Computer Programs. The nature and extent of the access to the Online
     2 Computer Programs is set forth in great detail in FHC’s response to Paragraph 3 of
     3 the Court’s July 6, 2021 Order [ECF Dkt. No. 46], served on CRL’s counsel on July
     4 20, 2021. Defendants FHC, Dorado, Sutherland, Glasswerks, and Steinberg deny the
     5 remaining allegations in Paragraph 106 of the TAC.
     6            107. Defendants FHC, Dorado, Sutherland, Glasswerks, and Steinberg admit
     7 only that certain of FHC’s employees have, at certain points in time, accessed the
     8 Online Computer Programs. The nature and extent of the access to the Online
     9 Computer Programs is set forth in great detail in FHC’s response to Paragraph 3 of
    10 the Court’s July 6, 2021 Order [ECF Dkt. No. 46], served on CRL’s counsel on July
    11 20, 2021. Defendants FHC, Dorado, Sutherland, Glasswerks, and Steinberg deny the
    12 remaining allegations in Paragraph 107 of the TAC.
    13            108. Defendants FHC, Dorado, Sutherland, Glasswerks, and Steinberg admit
    14 only that certain of FHC’s employees have, at certain points in time, accessed the
    15 Online Computer Programs. The nature and extent of the access to the Online
    16 Computer Programs is set forth in great detail in FHC’s response to Paragraph 3 of
    17 the Court’s July 6, 2021 Order [ECF Dkt. No. 46], served on CRL’s counsel on July
    18 20, 2021. Defendants FHC, Dorado, Sutherland, Glasswerks, and Steinberg further
    19 admit that defendants Steinberg and Glasswerks provided certain credentials
    20 regarding the Online Computer Programs to FHC. Defendants FHC, Dorado,
    21 Sutherland, Glasswerks, and Steinberg deny the remaining allegations in Paragraph
    22 108 of the TAC.
    23            109. Defendants FHC, Dorado, Sutherland, Glasswerks, and Steinberg admit
    24 only that certain of FHC’s employees have, at certain points in time, accessed the
    25 Online Computer Programs. The nature and extent of the access to the Online
    26 Computer Programs is set forth in great detail in FHC’s response to Paragraph 3 of
    27 the Court’s July 6, 2021 Order [ECF Dkt. No. 46], served on CRL’s counsel on July
    28

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     1 20, 2021. Defendants FHC, Dorado, Sutherland, Glasswerks, and Steinberg deny the
     2 remaining allegations in Paragraph 109 of the TAC.
     3            110. Defendants FHC, Dorado, Sutherland, Glasswerks, and Steinberg admit
     4 only that certain of FHC’s employees have, at certain points in time, accessed the
     5 Online Computer Programs. The nature and extent of the access to the Online
     6 Computer Programs is set forth in great detail in FHC’s response to Paragraph 3 of
     7 the Court’s July 6, 2021 Order [ECF Dkt. No. 46], served on CRL’s counsel on July
     8 20, 2021. Defendants FHC, Dorado, Sutherland, Glasswerks, and Steinberg deny the
     9 remaining allegations in Paragraph 110 of the TAC.
    10            111. Defendants FHC, Dorado, Sutherland, Glasswerks, and Steinberg admit
    11 only that certain of FHC’s employees have, at certain points in time, accessed the
    12 Online Computer Programs. The nature and extent of the access to the Online
    13 Computer Programs is set forth in great detail in FHC’s response to Paragraph 3 of
    14 the Court’s July 6, 2021 Order [ECF Dkt. No. 46], served on CRL’s counsel on July
    15 20, 2021. Defendants FHC, Dorado, Sutherland, Glasswerks, and Steinberg deny the
    16 remaining allegations in Paragraph 111 of the TAC.
    17            112. Defendants FHC, Dorado, Sutherland, Glasswerks, and Steinberg admit
    18 only that certain of FHC’s employees have, at certain points in time, accessed the
    19 Online Computer Programs. The nature and extent of the access to the Online
    20 Computer Programs is set forth in great detail in FHC’s response to Paragraph 3 of
    21 the Court’s July 6, 2021 Order [ECF Dkt. No. 46], served on CRL’s counsel on July
    22 20, 2021. Defendants FHC, Dorado, Sutherland, Glasswerks, and Steinberg deny the
    23 remaining allegations in Paragraph 112 of the TAC.
    24                                THIRD CLAIM FOR RELIEF
    25                           Patent Infringement (35 U.S.C. 101 et seq.)
    26                                   (Against Defendant FHC)
    27            113. Defendant FHC incorporates its answers to Paragraphs 1-112, set forth
    28 above, as if fully stated herein.

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     1            114. Defendant FHC admits only that what the ’413 Patent states is stated in
     2 the patent. Defendant FHC is presently without sufficient information to admit or
     3 deny the remaining allegations in Paragraph 114 of the TAC, and therefore denies
     4 those allegations.
     5            115. Defendant FHC admits the allegations in Paragraph 115 of the TAC.
     6            116. Defendant FHC admits only that Sprague is listed as the sole inventor on
     7 the ’413 Patent and that he assigned the application to CRL. The remaining
     8 allegations in Paragraph 116 of the TAC consist of legal argument, to which no
     9 response is required. To the extent a response is required, Defendant FHC denies the
    10 remaining allegations in Paragraph 116 of the TAC.
    11            117. Defendant FHC denies the allegations in Paragraph 117 of the TAC.
    12            118. Defendant FHC admits that CRL markets, offers for sale, and sells door
    13 rail products for releasably securing a panel of glass. Defendant FHC admits that
    14 among CRL’s door rail products are the CRL Low Profile door rail system and the
    15 CRL ENTICE door rail system. Defendant FHC is presently without sufficient
    16 information to admit or deny the remaining allegations in Paragraph 118 of the TAC,
    17 and therefore denies those allegations.
    18            119. Defendant FHC admits only that U.S. Patent Nos. 6,434,905, 6,912,818,
    19 and 9,074,413 all relate to various door rail systems. Defendant FHC objects that the
    20 term “CRL’s products” is vague and ambiguous and, therefore, denies any allegations
    21 based upon that term. Defendant FHC is presently without sufficient information to
    22 admit or deny the remaining allegations in Paragraph 119 of the TAC, and therefore
    23 denies those allegations.
    24            120. Defendant FHC admits only that Sprague is a named inventor on U.S.
    25 Patent Nos. 6,434,905 and 6,912,818, as well as the ’413 Patent. The remaining
    26 allegations in Paragraph 120 of the TAC consist of legal argument, to which no
    27 response is required. To the extent a response is required, Defendant FHC denies the
    28 remaining allegations in Paragraph 120 of the TAC.

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     1            121. Defendant FHC admits only that Sprague was involved in the design of
     2 the Herc-Door® product. The first sentence of Paragraph 121 consists of legal
     3 argument, to which no response is required. To the extent a response is required,
     4 Defendant FHC denies the allegations in the first sentence of Paragraph 121 of the
     5 TAC. Defendant FHC denies that the Herc-Door® product infringed the ’413 Patent.
     6 Defendant FHC denies that FHC was on notice that the Herc-Door® product
     7 infringed the ’413 Patent. Defendant FHC denies that Sprague knew that the Herc-
     8 Door® product infringed the ’413 Patent. Defendant FHC denies any remaining
     9 allegations in Paragraph 121 of the TAC.
    10            122. Defendant FHC denies the allegations in Paragraph 122 of the TAC.
    11            123. Defendant FHC admits only that Paragraph 123 of the TAC accurately
    12 recites the text of claim 1 of the ’413 Patent, except for the omission of a carriage
    13 return. Defendant FHC denies that Plaintiff has accurately paraphrased what “[t]he
    14 ’413 Patent uses” in the remainder of Paragraph 123 of the TAC, and further objects
    15 that the phrase “[t]he ’413 Patent uses” is vague and ambiguous and, therefore, denies
    16 any allegations based upon that term. Defendant FHC is presently without sufficient
    17 information to admit or deny any remaining allegations in Paragraph 123 of the TAC,
    18 and therefore denies those allegations.
    19            124. Defendant FHC denies the allegations in Paragraph 124 of the TAC.
    20            125. Defendant FHC denies the allegations in Paragraph 125 of the TAC.
    21            126. Defendant FHC denies the allegations in Paragraph 126 of the TAC.
    22            127. Defendant FHC denies the allegations in Paragraph 127 of the TAC.
    23            128. Defendant FHC admits only that the Herc-Door® product includes a rail
    24 assembly for releasably securing a glass panel. To the extent the allegations in
    25 Paragraph 128 of the TAC otherwise consist of legal argument, or include claim terms
    26 of the ’413 Patent that are subject to construction by Court at a Markman hearing, no
    27 response is required. To the extent a response is required, Defendant FHC denies the
    28 remaining allegations in Paragraph 128 of the TAC.

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     1            129. Defendant FHC admits only that the Herc-Door® product includes a rail
     2 body having mutually opposed inclined surfaces. To the extent the allegations in
     3 Paragraph 129 of the TAC otherwise consist of legal argument, or include claim terms
     4 of the ’413 Patent that are subject to construction by Court at a Markman hearing, no
     5 response is required. To the extent a response is required, Defendant FHC denies the
     6 remaining allegations in Paragraph 129 of the TAC.
     7            130. Defendant FHC denies the allegations in Paragraph 130 of the TAC. To
     8 the extent the allegations in Paragraph 130 of the TAC consist of legal argument, or
     9 include claim terms of the ’413 Patent that are subject to construction by Court at a
    10 Markman hearing, no response is required. To the extent a response is required,
    11 Defendant FHC denies the allegations in Paragraph 130 of the TAC.
    12            131. Defendant FHC denies the allegations in Paragraph 131 of the TAC. To
    13 the extent the allegations in Paragraph 131 of the TAC consist of legal argument, or
    14 include claim terms of the ’413 Patent that are subject to construction by Court at a
    15 Markman hearing, no response is required. To the extent a response is required,
    16 Defendant FHC denies the allegations in Paragraph 131 of the TAC.
    17            132. Defendant FHC denies the allegations in Paragraph 132 of the TAC. To
    18 the extent the allegations in Paragraph 132 of the TAC consist of legal argument, or
    19 include claim terms of the ’413 Patent that are subject to construction by Court at a
    20 Markman hearing, no response is required. To the extent a response is required,
    21 Defendant FHC denies the allegations in Paragraph 132 of the TAC.
    22            133. Defendant FHC denies the allegations in Paragraph 133 of the TAC. To
    23 the extent the allegations in Paragraph 133 of the TAC consist of legal argument, or
    24 include claim terms of the ’413 Patent that are subject to construction by Court at a
    25 Markman hearing, no response is required. To the extent a response is required,
    26 Defendant FHC denies the allegations in Paragraph 133 of the TAC.
    27            134. Defendant FHC admits that FHC has engaged in the manufacture, use,
    28 sale, and offer for sale of the Herc-Door® product in the United States without the

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     1 permission, license, or consent of CRL, but denies that FHC needs such permission,
     2 license, or consent. Defendant FHC denies the remaining allegations in Paragraph
     3 134 of the TAC.
     4            135. Defendant FHC objects that the phrase “identical or substantially similar
     5 in hardware and architecture” is vague and ambiguous and, therefore, denies any
     6 allegations based upon that phrase. Defendant FHC denies the remaining allegations
     7 in Paragraph 135 of the TAC.
     8            136. Defendant FHC admits only that Sprague was involved in the design of
     9 the Herc-Door® product. Defendant FHC denies that FHC has infringed the ’413
    10 Patent, willfully or otherwise. Defendant FHC denies that FHC copied CRL’s door
    11 rail designs or the subject matter of any claims of the ’413 Patent, intentionally or
    12 otherwise. Defendant FHC denies that FHC knew or should have known that the
    13 design of the Herc-Door® product copied the subject matter in any claims of the ’413
    14 Patent. Defendant FHC denies that Sprague knew that the Herc-Door® product
    15 copied or infringed the claimed subject matter of the ’413 Patent. Defendant FHC
    16 denies any remaining allegations in Paragraph 136 of the TAC.
    17            137. Defendant FHC denies the allegations in Paragraph 137 of the TAC.
    18            138. Defendant FHC admits only that Sprague is an FHC employee and that
    19 FHC has represented that Sprague is FHC’s vice president of product design and
    20 development. The remaining allegations in Paragraph 138 of the TAC consist of legal
    21 argument, to which no response is required. To the extent a response is required,
    22 Defendant FHC denies the allegations in Paragraph 138 of the TAC.
    23            139. Defendant FHC admits the allegations in Paragraph 139 of the TAC
    24 except for use of the words “further” and “import.”
    25            140. Defendant FHC denies the allegations in Paragraph 140 of the TAC.
    26            141. The allegations in Paragraph 141 of the TAC are a summary of the relief
    27 that CRL seeks, to which no response is required. To the extent a response is
    28 required, Defendant FHC denies the allegations in Paragraph 141 of the TAC.

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     1            142. The allegations in Paragraph 142 of the TAC are a summary of the relief
     2 that CRL seeks, to which no response is required. To the extent a response is
     3 required, Defendant FHC denies the allegations in Paragraph 142 of the TAC.
     4            143. The allegations in Paragraph 143 of the TAC are a summary of the relief
     5 that CRL seeks, to which no response is required. To the extent a response is
     6 required, Defendant FHC denies the allegations in Paragraph 143 of the TAC.
     7                               FOURTH CLAIM FOR RELIEF
     8                   Trade Secret Misappropriation – Defend Trade Secrets Act
     9                                (18 U.S.C. §§ 1832, 1836 et seq.)
    10                            (Against Defendants FHC and Hanstad)
    11            144. Defendants FHC and Hanstad incorporate their answers to Paragraphs 1-
    12 143, set forth above, as if fully stated herein.
    13            145. Defendants FHC and Hanstad are presently without sufficient
    14 information to admit or deny the allegations in Paragraph 145 of the TAC, and
    15 therefore deny those allegations.
    16            146. Defendants FHC and Hanstad are presently without sufficient
    17 information to admit or deny the allegations in Paragraph 146 of the TAC, and
    18 therefore deny those allegations.
    19            147. Defendants FHC and Hanstad are presently without sufficient
    20 information to admit or deny the allegations in Paragraph 147 of the TAC, and
    21 therefore deny those allegations.
    22            148. The allegations in Paragraph 148 of the TAC consist of legal argument,
    23 to which no response is required. To the extent a response is required, Defendants
    24 FHC and Hanstad deny the allegations in Paragraph 148 of the TAC.
    25            149. Defendants FHC and Hanstad deny the allegations in Paragraph 149 of
    26 the TAC.
    27            150. Defendants FHC and Hanstad deny the allegations in Paragraph 150 of
    28 the TAC.

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     1            151. Defendants FHC and Hanstad deny the allegations in Paragraph 151 of
     2 the TAC.
     3            152. The allegations in Paragraph 152 of the TAC are a summary of the relief
     4 that CRL seeks, to which no response is required. To the extent a response is
     5 required, Defendants FHC and Hanstad deny the allegations in Paragraph 152 of the
     6 TAC.
     7            153. The allegations in Paragraph 153 of the TAC are a summary of the relief
     8 that CRL seeks, to which no response is required. To the extent a response is
     9 required, Defendants FHC and Hanstad deny the allegations in Paragraph 153 of the
    10 TAC.
    11                                FIFTH CLAIM FOR RELIEF
    12               Misappropriation of Trade Secrets (Cal. Civ. Code § 3426 et seq.)
    13                            (Against Defendants FHC and Hanstad)
    14            154. Defendants FHC and Hanstad incorporate their answers to Paragraphs 1-
    15 153, set forth above, as if fully stated herein.
    16            155. Defendants FHC and Hanstad are presently without sufficient
    17 information to admit or deny the allegations in Paragraph 155 of the TAC, and
    18 therefore deny those allegations.
    19            156. Defendants FHC and Hanstad are presently without sufficient
    20 information to admit or deny the allegations in Paragraph 156 of the TAC, and
    21 therefore deny those allegations.
    22            157. Defendants FHC and Hanstad are presently without sufficient
    23 information to admit or deny the allegations in Paragraph 157 of the TAC, and
    24 therefore deny those allegations.
    25            158. The allegations in Paragraph 158 of the TAC consist of legal argument,
    26 to which no response is required. To the extent a response is required, Defendants
    27 FHC and Hanstad deny the allegations in Paragraph 158 of the TAC.
    28

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     1            159. Defendants FHC and Hanstad deny the allegations in Paragraph 159 of
     2 the TAC.
     3            160. Defendants FHC and Hanstad deny the allegations in Paragraph 160 of
     4 the TAC.
     5            161. Defendants FHC and Hanstad deny the allegations in Paragraph 161 of
     6 the TAC.
     7            162. The allegations in Paragraph 162 of the TAC are a summary of the relief
     8 that CRL seeks, to which no response is required. To the extent a response is
     9 required, Defendants FHC and Hanstad deny the allegations in Paragraph 162 of the
    10 TAC.
    11            163. The allegations in Paragraph 163 of the TAC are a summary of the relief
    12 that CRL seeks, to which no response is required. To the extent a response is
    13 required, Defendants FHC and Hanstad deny the allegations in Paragraph 163 of the
    14 TAC.
    15                                  SIXTH CLAIM FOR RELIEF
    16                       Violation of Lanham Act § 43(a) (15 U.S.C. § 1125(a))
    17                                    (Against Defendant FHC)
    18            164. Defendant FHC incorporates its answers to Paragraphs 1-163, set forth
    19 above, as if fully stated herein.
    20            165. Defendant FHC denies the allegations in Paragraph 165 of the TAC.
    21            166. Defendant FHC denies the allegations in Paragraph 166 of the TAC.
    22            167. The allegations in Paragraph 167 of the TAC consist of legal argument,
    23 to which no response is required. To the extent a response is required, Defendant
    24 FHC denies the allegations in Paragraph 167 of the TAC.
    25            168. The allegations in Paragraph 168 of the TAC are a summary of the relief
    26 that CRL seeks, to which no response is required. To the extent a response is
    27 required, Defendant FHC denies the allegations in Paragraph 168 of the TAC.
    28

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     1            169. The allegations in Paragraph 169 of the TAC are a summary of the relief
     2 that CRL seeks, to which no response is required. To the extent a response is
     3 required, Defendant FHC denies the allegations in Paragraph 169 of the TAC.
     4            170. The allegations in Paragraph 170 of the TAC are a summary of the relief
     5 that CRL seeks, to which no response is required. To the extent a response is
     6 required, Defendant FHC denies the allegations in Paragraph 170 of the TAC.
     7                              SEVENTH CLAIM FOR RELIEF
     8                              Common Law Unfair Competition
     9                                   (Against Defendant FHC)
    10            171. Defendant FHC incorporates its answers to Paragraphs 1-170, set forth
    11 above, as if fully stated herein.
    12            172. Defendant FHC is presently without sufficient information to admit or
    13 deny the allegations in Paragraph 172 of the TAC, and therefore denies those
    14 allegations.
    15            173. Defendant FHC denies the allegations in Paragraph 173 of the TAC.
    16            174. Defendant FHC denies the allegations in Paragraph 174 of the TAC.
    17            175. The allegations in Paragraph 175 of the TAC consist of legal argument,
    18 to which no response is required. To the extent a response is required, Defendant
    19 FHC denies the allegations in Paragraph 175 of the TAC.
    20            176. The allegations in Paragraph 176 of the TAC are a summary of the relief
    21 that CRL seeks, to which no response is required. To the extent a response is
    22 required, Defendant FHC denies the allegations in Paragraph 176 of the TAC.
    23            177. The allegations in Paragraph 177 of the TAC are a summary of the relief
    24 that CRL seeks, to which no response is required. To the extent a response is
    25 required, Defendant FHC denies the allegations in Paragraph 177 of the TAC.
    26            178. The allegations in Paragraph 178 of the TAC are a summary of the relief
    27 that CRL seeks, to which no response is required. To the extent a response is
    28 required, Defendant FHC denies the allegations in Paragraph 178 of the TAC.

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     1            179. The allegations in Paragraph 179 of the TAC are a summary of the relief
     2 that CRL seeks, to which no response is required. To the extent a response is
     3 required, Defendant FHC denies the allegations in Paragraph 179 of the TAC.
     4                                   EIGHTH CLAIM FOR RELIEF
     5                                                 Fraud
     6                           (Against Defendants FHC, Dorado, and Sutherland)
     7            180. Defendants FHC, Dorado, and Sutherland incorporate their answers to
     8 Paragraphs 1-179, set forth above, as if fully stated herein.
     9            181. Defendants FHC, Dorado, and Sutherland admit only that certain of
    10 FHC’s employees have, at certain points in time, accessed the Online Computer
    11 Programs. The nature and extent of the access to the Online Computer Programs is
    12 set forth in great detail in FHC’s response to Paragraph 3 of the Court’s July 6, 2021
    13 Order [ECF Dkt. No. 46], served on CRL’s counsel on July 20, 2021. Defendants
    14 FHC, Dorado, and Sutherland deny the remaining allegations in Paragraph 181 of the
    15 TAC.
    16            182. Defendants FHC, Dorado, and Sutherland admit only that certain of
    17 FHC’s employees have, at certain points in time, accessed the Online Computer
    18 Programs. The nature and extent of the access to the Online Computer Programs is
    19 set forth in great detail in FHC’s response to Paragraph 3 of the Court’s July 6, 2021
    20 Order [ECF Dkt. No. 46], served on CRL’s counsel on July 20, 2021. Defendants
    21 FHC, Dorado, and Sutherland deny the remaining allegations in Paragraph 182 of the
    22 TAC.
    23            183. Defendants FHC, Dorado, and Sutherland admit only that certain of
    24 FHC’s employees have, at certain points in time, accessed the Online Computer
    25 Programs. The nature and extent of the access to the Online Computer Programs is
    26 set forth in great detail in FHC’s response to Paragraph 3 of the Court’s July 6, 2021
    27 Order [ECF Dkt. No. 46], served on CRL’s counsel on July 20, 2021. Defendants
    28

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     1 FHC, Dorado, and Sutherland deny the remaining allegations in Paragraph 183 of the
     2 TAC.
     3            184. Defendants FHC, Dorado, and Sutherland admit only that certain of
     4 FHC’s employees have, at certain points in time, accessed the Online Computer
     5 Programs. The nature and extent of the access to the Online Computer Programs is
     6 set forth in great detail in FHC’s response to Paragraph 3 of the Court’s July 6, 2021
     7 Order [ECF Dkt. No. 46], served on CRL’s counsel on July 20, 2021. Defendants
     8 FHC, Dorado, and Sutherland deny the remaining allegations in Paragraph 184 of the
     9 TAC.
    10            185. Defendants FHC, Dorado, and Sutherland admit only that certain of
    11 FHC’s employees have, at certain points in time, accessed the Online Computer
    12 Programs. The nature and extent of the access to the Online Computer Programs is
    13 set forth in great detail in FHC’s response to Paragraph 3 of the Court’s July 6, 2021
    14 Order [ECF Dkt. No. 46], served on CRL’s counsel on July 20, 2021. Defendants
    15 FHC, Dorado, and Sutherland deny the remaining allegations in Paragraph 185 of the
    16 TAC.
    17            186. The allegations in Paragraph 186 of the TAC consist of legal argument,
    18 to which no response is required. To the extent a response is required, Defendants
    19 FHC, Dorado, and Sutherland deny the allegations in Paragraph 186 of the TAC.
    20            187. The allegations in Paragraph 187 of the TAC consist of legal argument,
    21 to which no response is required. To the extent a response is required, Defendants
    22 FHC, Dorado, and Sutherland deny the allegations in Paragraph 187 of the TAC.
    23            188. The allegations in Paragraph 188 of the TAC consist of legal argument,
    24 to which no response is required. To the extent a response is required, Defendants
    25 FHC, Dorado, and Sutherland deny the allegations in Paragraph 188 of the TAC.
    26            189. The allegations in Paragraph 189 of the TAC are a summary of the relief
    27 that CRL seeks, to which no response is required. To the extent a response is
    28

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     1 required, Defendants FHC, Dorado, and Sutherland deny the allegations in Paragraph
     2 189 of the TAC.
     3            190. The allegations in Paragraph 190 of the TAC are a summary of the relief
     4 that CRL seeks, to which no response is required. To the extent a response is
     5 required, Defendants FHC, Dorado, and Sutherland deny the allegations in Paragraph
     6 190 of the TAC.
     7                                NINTH CLAIM FOR RELIEF
     8                                      Breach of Contract
     9                                (Against Defendant Glasswerks)
    10            191. Defendant Glasswerks incorporates its answers to Paragraphs 1-190, set
    11 forth above, as if fully stated herein.
    12            192. Defendant Glasswerks is presently without sufficient information to
    13 admit or deny the allegations in Paragraph 192 of the TAC, and therefore deny those
    14 allegations.
    15            193. Defendant Glasswerks is presently without sufficient information to
    16 admit or deny the allegations in Paragraph 193 of the TAC, and therefore deny those
    17 allegations.
    18            194. The allegations in Paragraph 194 of the TAC consist of legal argument,
    19 to which no response is required. To the extent a response is required, Defendant
    20 Glasswerks denies the allegations in Paragraph 194 of the TAC.
    21            195. The allegations in Paragraph 195 of the TAC are a summary of the relief
    22 that CRL seeks, to which no response is required. To the extent a response is
    23 required, Defendant Glasswerks denies the allegations in Paragraph 195 of the TAC.
    24                                TENTH CLAIM FOR RELIEF
    25                            Intentional Interference with Contract
    26                                   (Against Defendant FHC)
    27            196. Defendant FHC incorporates its answers to Paragraphs 1-195, set forth
    28 above, as if fully stated herein.

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     1            197. Defendant FHC admits only that certain of FHC’s employees have, at
     2 certain points in time, accessed the Online Computer Programs. The nature and
     3 extent of the access to the Online Computer Programs is set forth in great detail in
     4 FHC’s response to Paragraph 3 of the Court’s July 6, 2021 Order [ECF Dkt. No. 46],
     5 served on CRL’s counsel on July 20, 2021. Defendant FHC denies the remaining
     6 allegations in Paragraph 197 of the TAC.
     7            198. Defendant FHC admits only that certain of FHC’s employees have, at
     8 certain points in time, accessed the Online Computer Programs. The nature and
     9 extent of the access to the Online Computer Programs is set forth in great detail in
    10 FHC’s response to Paragraph 3 of the Court’s July 6, 2021 Order [ECF Dkt. No. 46],
    11 served on CRL’s counsel on July 20, 2021. Defendant FHC denies the remaining
    12 allegations in Paragraph 198 of the TAC.
    13            199. The allegations in Paragraph 199 of the TAC consist of legal argument,
    14 to which no response is required. To the extent a response is required, Defendant
    15 FHC denies the allegations in Paragraph 199 of the TAC.
    16            200. The allegations in Paragraph 200 of the TAC consist of legal argument,
    17 to which no response is required. To the extent a response is required, Defendant
    18 FHC denies the allegations in Paragraph 200 of the TAC.
    19            201. The allegations in Paragraph 201 of the TAC are a summary of the relief
    20 that CRL seeks, to which no response is required. To the extent a response is
    21 required, Defendant FHC denies the allegations in Paragraph 201 of the TAC.
    22                             ELEVENTH CLAIM FOR RELIEF
    23                              Unjust Enrichment and Restitution
    24                                   (Against Defendant FHC)
    25            202. Defendant FHC incorporates its answers to Paragraphs 1-201, set forth
    26 above, as if fully stated herein.
    27
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     1            203. The allegations in Paragraph 203 of the TAC consist of legal argument,
     2 to which no response is required. To the extent a response is required, Defendant
     3 FHC denies the allegations in Paragraph 203 of the TAC.
     4            204. The allegations in Paragraph 204 of the TAC consist of legal argument,
     5 to which no response is required. To the extent a response is required, Defendant
     6 FHC denies the allegations in Paragraph 204 of the TAC.
     7            205. The allegations in Paragraph 205 of the TAC consist of legal argument,
     8 to which no response is required. To the extent a response is required, Defendant
     9 FHC denies the allegations in Paragraph 205 of the TAC.
    10            206. The allegations in Paragraph 206 of the TAC consist of legal argument,
    11 to which no response is required. To the extent a response is required, Defendant
    12 FHC denies the allegations in Paragraph 206 of the TAC.
    13            207. The allegations in Paragraph 207 of the TAC are a summary of the relief
    14 that CRL seeks, to which no response is required. To the extent a response is
    15 required, Defendant FHC denies the allegations in Paragraph 207 of the TAC.
    16                                  TWELFTH CLAIM FOR RELIEF
    17                           Violation of Business and Professions Code § 17200
    18                                        (Against all Defendants)
    19            208. Defendants incorporate their answers to Paragraphs 1-207, set forth
    20 above, as if fully stated herein.
    21            209. The allegations in Paragraph 209 of the TAC consist of legal argument,
    22 to which no response is required. To the extent a response is required, Defendants
    23 deny the allegations in Paragraph 209 of the TAC.
    24            210. The allegations in Paragraph 210 of the TAC consist of legal argument,
    25 to which no response is required. To the extent a response is required, Defendants
    26 deny the allegations in Paragraph 210 of the TAC.
    27
    28

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     1            211. The allegations in Paragraph 211 of the TAC are a summary of the relief
     2 that CRL seeks, to which no response is required. To the extent a response is
     3 required, Defendants deny the allegations in Paragraph 211 of the TAC.
     4            212. The allegations in Paragraph 212 of the TAC are a summary of the relief
     5 that CRL seeks, to which no response is required. To the extent a response is
     6 required, Defendants deny the allegations in Paragraph 212 of the TAC.
     7                                    PRAYER FOR RELIEF
     8            Defendants deny that CRL is entitled to any of the relief sought in its Prayer for
     9 Relief.
    10                                 AFFIRMATIVE DEFENSES
    11            As separate and distinct affirmative defenses to CRL’s allegations, Defendants
    12 allege as follows:
    13                              FIRST AFFIRMATIVE DEFENSE
    14                                   (Failure to State a Claim)
    15            The TAC, and each purported claim for relief pled therein, fails to state a claim
    16 upon which relief can be granted.
    17                            SECOND AFFIRMATIVE DEFENSE
    18                                          (No Damages)
    19            The TAC, and each purported claim for relief pled therein, fails in whole or in
    20 part to the extent CRL has suffered no damages.
    21                             THIRD AFFIRMATIVE DEFENSE
    22                                             (Laches)
    23            The TAC, and each purported claim for relief pled therein, fails in whole or in
    24 part by the doctrine of laches because CRL unreasonably delayed in asserting the
    25 claims alleged in the TAC, thereby causing prejudice to Defendants.
    26 ///
    27 ///
    28 ///

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     1                            FOURTH AFFIRMATIVE DEFENSE
     2                                          (Good Faith)
     3            Defendants did not engage in bad faith, willful, wanton, or reckless conduct
     4 towards CRL, and all actions were taken without malice, ill will, or any conscious
     5 disregard for the rights or interests of CRL.
     6                              FIFTH AFFIRMATIVE DEFENSE
     7                                        (Unclean Hands)
     8            The TAC, and each cause of action therein, fails in whole or in part under the
     9 doctrine of unclean hands. Among other things, as stated further below, CRL has
    10 copied elements of FHC’s logo and branding.
    11                              SIXTH AFFIRMATIVE DEFENSE
    12                                      (Unjust Enrichment)
    13            The TAC, and each cause of action therein, fails in whole or in part under the
    14 doctrine of unjust enrichment. Among other things, as stated further below, CRL has
    15 been unjustly enriched by copying elements of FHC’s logo and branding.
    16                            SEVENTH AFFIRMATIVE DEFENSE
    17                                         (Acquiescence)
    18            The TAC, and each cause of action therein, fails in whole or in part under the
    19 doctrine of acquiescence. Among other things, CRL has acquiesced to the sharing of
    20 access credentials to its Online Computer Programs by not requiring its customers to
    21 sign license agreements and/or otherwise not restricting the use of such credentials.
    22                             EIGHTH AFFIRMATIVE DEFENSE
    23                                            (Waiver)
    24            The TAC, and each cause of action therein, fails in whole or in part under the
    25 doctrine of waiver. Among other things, CRL has waived the right to enforce its
    26 access credentials to its Online Computer Programs by not requiring its customers to
    27 sign license agreements and/or otherwise not restricting the use of such credentials.
    28

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     1                             NINTH AFFIRMATIVE DEFENSE
     2                                           (Estoppel)
     3            The TAC, and each cause of action therein, fails in whole or in part under the
     4 doctrine of estoppel. Among other things, CRL is estopped from enforcing its access
     5 credentials to its Online Computer Programs by not requiring its customers to sign
     6 license agreements and/or otherwise not restricting the use of such credentials.
     7                             TENTH AFFIRMATIVE DEFENSE
     8                                           (Bad Faith)
     9            The allegations of the TAC and in each purported claim for relief have always
    10 been and continue to be frivolous, unreasonable, and groundless.
    11                           ELEVENTH AFFIRMATIVE DEFENSE
    12                               (Equities in Favor of Defendants)
    13            Plaintiff is barred from recovering the relief sought in the TAC because the
    14 equities weigh in favor of Defendants.
    15                            TWELFTH AFFIRMATIVE DEFENSE
    16                                    (No Punitive Damages)
    17            The TAC’s claims for punitive damages are barred and should be stricken
    18 because such an award would violate Defendants’ rights guaranteed under the
    19 California and United States Constitutions, including, without limitation, the Equal
    20 Protection and Due Process provisions of the Fifth and Fourteenth Amendments of
    21 the United States Constitution, and the Excessive Fines provision of the Eighth
    22 Amendment of the United States Constitution.
    23                           THIRTEENTH AFFIRMATIVE DEFENSE
    24                                 (No Punitive Damages Intent)
    25            The TAC’s claims for punitive damages are barred and should be stricken
    26 because Defendants’ alleged conduct was not undertaken with the requisite intent to
    27 support an award of punitive damages.
    28

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     1                             FOURTEENTH AFFIRMATIVE DEFENSE
     2                           (Failure to Mitigate Damages and Attorneys’ Fees)
     3            The TAC, and each cause of action therein, fails in whole or in part because
     4 CRL has not mitigated its purported damages and attorneys’ fees, if any.
     5                               FIFTEENTH AFFIRMATIVE DEFENSE
     6                                     (No Likelihood of Confusion)
     7            The TAC, and each cause of action therein, fails in whole or in part because
     8 there is no likelihood of confusion in the marketplace.
     9                               SIXTEENTH AFFIRMATIVE DEFENSE
    10                                          (Non-Infringement)
    11            FHC has not infringed and is not infringing any valid claim of the ’413 Patent,
    12 either directly or indirectly, literally or under the doctrine of equivalents, willfully or
    13 otherwise.
    14                             SEVENTEENTH AFFIRMATIVE DEFENSE
    15                                     (Invalidity/Unenforceability)
    16            Each claim of the ’413 Patent is unpatentable or otherwise invalid for failure to
    17 meet the conditions of patentability and otherwise comply with the requirements of 35
    18 U.S.C. §§ 102, 103, and/or 112.
    19                             EIGHTEENTH AFFIRMATIVE DEFENSE
    20                                   (Failure to Identify Trade Secrets)
    21            CRL’s trade secret misappropriation claims in the TAC fail because Plaintiff
    22 has failed to identify its alleged trade secrets with reasonable particularity.
    23                              NINETEENTH AFFIRMATIVE DEFENSE
    24                    (CRL Has Copied Elements of FHC’s Logo and Branding)
    25            CRL’s TAC contends that FHC has copied Plaintiff’s business model, products,
    26 and website. [TAC ¶¶ 57, 58, 86-93]. On the contrary, once CRL learned of FHC’s
    27 success and innovative branding in the industry, it actually rebranded and modeled its
    28 own logo to look similar to FHC’s.

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     1            On October 11, 2019, FHC filed a trademark application (Serial No. 88651641)
     2 for its all-black logo with slashed lettering on the “F” and “C”. FHC’s trademark
     3 application was published for opposition on May 12, 2020. FHC began using its logo
     4 in commerce at least as early as November 2019. FHC’s logo has a sleek, modern
     5 look that comports with FHC’s overall marketing and branding campaign. FHC’s
     6 logo and marketing materials have sought to bring a modern, fresh approach to an
     7 otherwise antiquated industry. Customers in the glass and glazing industries have
     8 been receptive to FHC’s fresh marketing campaigns and have complimented FHC on
     9 bringing a new energy to the industry.
    10            Plaintiff’s old logo featured blocked blue lettering. Upon information and
    11 belief, Plaintiff used its old logo with blocked blue lettering through July 16, 2020.
    12 On August 25, 2020, Plaintiff filed a trademark application to register its new logo
    13 with blue, slashed lettering. Plaintiff completely transformed its logo from blocked,
    14 blue lettering to slashed lettering similar to FHC beginning in July 2020. Upon
    15 information and belief, Plaintiff deliberately copied elements of FHC’s logo to piggy-
    16 back off the goodwill and notoriety generated by FHC’s marketing and branding
    17 success.
    18                              TWENTIETH AFFIRMATIVE DEFENSE
    19                           (No Requisite Intent As Required Under the CFAA)
    20            Plaintiff’s claims under the COMPUTER FRAUD AND ABUSE ACT fail because no
    21 Defendant: (1) intentionally accessed any of Plaintiff’s computers without
    22 authorization or exceeded authorized access; (2) knowingly and with the intent to
    23 defraud, accessed any of Plaintiff’s protected computers without authorization or
    24 exceeded authorized access; or (3) knowingly and with intend to defraud trafficked in
    25 any password or similar information through which a password may be accessed
    26 without authorization.
    27 ///
    28 ///

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     1                           TWENTY-FIRST AFFIRMATIVE DEFENSE
     2                (No Requisite Intent As Required Under CAL. PEN. CODE § 502)
     3            Plaintiff’s claims under CALIFORNIA PENAL CODE § 502 fail because no
     4 Defendant knowingly and without permission accessed, altered or used any data
     5 related to, caused disruption to, copied or made use of data from, any of Plaintiff’s
     6 online computer programs.
     7                           TWENTY-SECOND AFFIRMATIVE DEFENSE
     8                     (No Enforcement of CRL’s Online Computer Programs)
     9            Plaintiff’s claims related to its Online Computer Programs fail because Plaintiff
    10 did not require its customers to enter into license agreements before providing
    11 credentials for its Online Computer Programs, and/or did not enforce any such
    12 restrictions.
    13            Several years ago, CRL granted Glasswerks login credentials to use the Online
    14 Computer Programs to allow Glasswerks to build and design glass products for
    15 Glasswerks’ customers. The Online Computer Programs were invented by David
    16 Brennan the late 1990s and early 2000s. Brennan is the managing Director at Smart-
    17 Builder Limited, a New Zealand-based glass software company. Smart Builder’s
    18 glass design, pricing, and ordering software are commonly used throughout the glass
    19 and glazing industries. Smart Builder licenses its glass software to companies such as
    20 CRL who, in turn, provide such software to its customers. In other words, the Online
    21 Computer Programs are not designed, owned, or otherwise proprietary to CRL.
    22            Glasswerks is informed and believes, and on that basis alleges, that CRL never
    23 required Glasswerks to sign a license agreement restricting Glasswerks’ use of its
    24 login credentials to the Online Computer Programs. In fact, upon information and
    25 belief, CRL never advised Glasswerks that it is prohibited from sharing its login
    26 credentials for the Online Computer Programs to other customers or third parties.
    27 Generally, CRL never policed Glasswerks’ access to the Online Computer Programs
    28 licensed by Brennan to CRL during the relevant time period. On occasion,

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     1 Glasswerks provided its login credentials to CRL’s Online Computer Programs to
     2 FHC and other third parties. It was common practice for certain of CRL’s customers
     3 to share their login credentials to CRL’s Online Computer Programs with other
     4 parties.
     5                               COUNTERCLAIMS AGAINST CRL
     6            Pursuant to FEDERAL RULE OF CIVIL PROCEDURE 13, Defendant and
     7 Counterclaimant Frameless Hardware Company, LLC (“FHC”) hereby asserts the
     8 following counterclaims against Plaintiff and Counterdefendant C.R. Laurence Co.,
     9 Inc. (“CRL”):
    10                                              PARTIES
    11            1.       Counterclaimant Frameless Hardware Company is a Delaware limited
    12 liability company that maintains its principal place of business in Los Angeles
    13 County, California.
    14            2.       Plaintiff C.R. Laurence Co., Inc. is a California corporation that, upon
    15 information and belief, maintains its corporate headquarters and principal place of
    16 business in Los Angeles County, California.
    17                                  JURISDICTION AND VENUE
    18            3.       Jurisdiction is proper for these counterclaims because CRL has
    19 consented to jurisdiction by bringing its Third Amended Complaint [ECF Dkt. 85]
    20 against FHC in this Court.
    21            4.       This Court has personal jurisdiction over CRL because its principal place
    22 of business is in Los Angeles, California and within this judicial district.
    23            5.       Venue is proper in this District under 28 U.S.C. §§ 1391(b)(1) and
    24 1391(c) in that this is the judicial district in which a substantial part of the acts and
    25 omissions giving rise to the claims occurred, and CRL’s principal place of business
    26 and residence are within the Central District of California. Further, CRL brought its
    27 Third Amended Complaint [ECF Dkt. 85] against FHC in this Court, in response to
    28 which these counterclaims are asserted.

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     1       FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS FOR RELIEF
     2 CRL’s Success Before 2018
     3            6.       CRL was founded in 1961. Over the next several decades, CRL became
     4 known for its commonsense business philosophy and commitment to both customers
     5 and employees. Under the stewardship of its prior owner and CEO, CRL grew into
     6 the largest glazing industry supplier in the US, with 40 locations and over $500
     7 million in annual revenues. CRL now is the leading supplier to the glazing, screen,
     8 architectural, railing, construction, industrial and automotive industries. CRL’s
     9 products include commercial and residential architectural railings, hardware for “all-
    10 glass” commercial entrances, transaction hardware, and frameless shower door
    11 hardware. CRL’s success was exemplified by some of its core values: customer
    12 service; new product innovations; commitment to having inventory; and hiring
    13 experienced top industry talent.
    14            7.       In 2015, CRL was sold to Irish conglomerate Oldcastle
    15 BuildingEnvelope (“OBE”) for $1.3 billion. CRL became an independently managed
    16 and operated subsidiary of Irish-owned OBE and retained all existing management
    17 structures and personnel.
    18            8.       Upon information and belief, CRL’s parent company, CRH plc (“CRH”)
    19 has a net worth over $34.5 billion. CRH’s portfolio consists of Building &
    20 Construction Products, Cement, Concrete Products, Aggregates, Roofing, Insulation
    21 and other building materials. Upon information and belief, CRH is the leading
    22 building materials business in the world, employing over 77,400 people at 3,235
    23 locations in 28 countries.
    24 The Prior Experience And Expertise Of Hanstad And Other FHC Officers
    25            9.       A large component of CRL’s success was due to hiring experienced top
    26 industry talent. Many of the former CRL employees who later would form or join
    27 FHC had years of experience in the building materials and hardware businesses
    28 before joining CRL. For example, Chris Hanstad (former Vice President of

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     1 Architectural Sales at CRL and current CEO at FHC) previously worked in the
     2 Drafting and Design department at GrandView Glass and Metal for 7 years before
     3 joining CRL. Grandview was a manufacturer of glass, such as frameless glass
     4 entrances, fully frame-clad doors and storefronts and fully fabricated tempered glass
     5 and shower doors, and some accompanying hardware, such as shower door hinges
     6 and handles.
     7            10.      Barry Sutherland (former Director Commercial Hardware at CRL and
     8 current Sr. Vice President of Sales at FHC) previously worked in the Sales
     9 department at Sommer and Maca for 4 years before joining CRL. Danny Donahue
    10 (former Director and Brand Manager at CRL and current Brand Manager of
    11 Frameless Shower Hardware at FHC) worked in the Sales and Installation department
    12 at Capistrano Valley Glass for 11 years before joining CRL. As a final example,
    13 Jesse Dorado (former Lead Technician at CRL and current Brand Manager of
    14 Architectural Hardware at FHC) worked as Vice President of Sales at GrandView
    15 Glass and Metal for 17 years before joining CRL. In short, these individuals, as well
    16 as several other former CRL employees who would later join FHC, brought decades
    17 of experience, knowledge, and customer relationships in the glass, glazing, and
    18 architectural hardware industries before joining FHC.
    19 CRL Deteriorates After 2018
    20            11.      After CRL’s prior owner and CEO left the company in 2018, everything
    21 changed at CRL. CRH wanted a fast return on its $1.3 billion dollar investment. It
    22 immediately implemented a company-wide philosophy of Return on Net Asset, or
    23 “RONA,” seeking to squeeze more earnings out of each dollar invested. CRL focused
    24 less on innovating and maximizing customer experience, instead focusing primarily
    25 on cost savings exercises. As part of this cost-saving focus, CRL drastically reduced
    26 inventory levels which detrimentally impacted CRL’s customer service and lead
    27 times.
    28

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     1            12.      CRL quickly transformed from a family-style, entrepreneur-run business
     2 to a professionally managed corporation. Employees at CRL became a number and
     3 bottom line. The personal touch was removed. Several positions were eliminated
     4 across the company. Departments were restructured and reduced. CRH eliminated
     5 many bonuses for CRL employees and cut salaries for many employees in half. And,
     6 CRH closed many CRL facilities. These changes caused many CRL employees to
     7 feel nervous, insecure, unsupported, underpaid, and overworked and afraid they could
     8 lose their jobs at any time.
     9            13.      These corporate and structural changes also had an impact on CRL’s
    10 performance and customer relationships. CRL customers began complaining that
    11 they could not get a live person to answer the phone for technical support, to get a
    12 quote, or to place orders. CRL customers also complained about long lead times for
    13 new orders, as well as back orders or no inventory for many key products.
    14 Hanstad And Randy Steinberg Form FHC
    15            14.      Because of the drastic changes at CRL, Hanstad and many others left the
    16 company. Hanstad resigned in 2018. After taking a sabbatical for several months,
    17 Hanstad decided he wanted to open a glazing supply company that gave the glazing
    18 community another choice. Hanstad determined there was a gap in the glass and
    19 glazing industry, in that there was no smaller company or other alternative to CRL
    20 that could provide a high level of responsive customer service while still providing
    21 quality and innovative products.
    22            15.      Because he needed help financing a new company, Hanstad reached out
    23 to a friend and associate he had known for over two decades, Randy Steinberg, the
    24 owner of Glasswerks LA, Inc. (“Glasswerks”). Founded by Steinberg in 1983,
    25 Glasswerks is a custom glass fabricator offering a wide range of custom and
    26 architectural glass products and custom glass fabrication capabilities to customers.
    27 Through a number of acquisitions and other transactions, Glasswerks now has grown
    28 to over 400 employees and annual gross revenues over $100 million per year.

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     1            16.      In April 2019, Hanstad and Steinberg formed FHC, which is a
     2 manufacturer and supplier to the glass, glazing, and fenestration industries. Several
     3 former CRL employees have joined FHC. FHC provides a complete range of tools
     4 and supplies as well as innovative hardware product solutions for frameless shower
     5 doors, commercial storefronts, architectural railings, and transaction windows. As a
     6 privately-owned, American-based company, FHC’s mission is built upon the core
     7 principles of customer service, product innovation, and entrepreneurship. FHC’s
     8 products, services, and ethics are backed by a team of highly knowledgeable industry
     9 veterans that effectively combines technical competency, product expertise, and small
    10 business ideologies.
    11 FHC’s Company Mission, Business Model, And Immediate Success
    12            17.      FHC’s business is predicated on a simple idea: place the customer first.
    13 As a privately-owned company, FHC does not need to answer to public company
    14 shareholders or a private equity firm. This allows FHC to meet its customers’ needs
    15 and problems in a timely, efficient, and welcoming manner. FHC also emphasizes
    16 product innovation, as it continues to offer new products and designs to support the
    17 glazing industry. FHC is committed to inventory, ensuring that it keeps its core
    18 product offerings in stock, resulting in short lead times for its customers.
    19            18.      In building out its website, product and services offerings, and its
    20 marketing materials, FHC did what any new company would do—it looked to its
    21 competitors via publicly available means to see what products are being offered, how
    22 they are being marketed, and how FHC could best fairly compete. This is
    23 commonplace in the glass, glazing, and fenestration industries. Several companies
    24 offer the same types of products with the same dimensions (e.g., standard door hinges
    25 or handles). In building its business and product offerings and in order to meet its
    26 customers’ needs, Hanstad and others at FHC tapped into their decades of experience
    27 and knowledge gained from working in the industry. FHC also looked at the publicly
    28 available product offerings of several competitors, including CRL, PRL, Assa Abloy,

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     1 Dorma, Portals, Bohle, Morse Industries, Tag Hardware, Structures, and Southeast
     2 Alum Products. FHC did this without misappropriating any other company’s
     3 confidential materials or infringing any of its patented products. Industrial
     4 competition is the backbone of the American economy. There is nothing unfair about
     5 the manner in which FHC developed its product offerings.
     6            19.      In securing its suppliers and customers, Hanstad, Steinberg, and FHC’s
     7 executive team utilized their knowledge in the industry and meaningful relationships
     8 that had been built over decades. FHC also secured its customers and suppliers
     9 through online public searches, industry trade shows, vendor/supplier source books,
    10 and websites in certain glazing publications.
    11            20.      Over approximately two years, FHC has been a remarkable success. It
    12 has grown to over 140 employees, offers over 10,000 products for sale, and services
    13 6,000 total customers (of which over 3,500 are repeat customers). Feedback from
    14 FHC’s customers has confirmed that its customer service and professional team have
    15 been a welcome addition to the glass and glazing industries. Several FHC customers
    16 have remarked how CRL’s customer service has deteriorated significantly over the
    17 years and they are glad that there is an alternative in the industry. FHC’s customers
    18 have stated that they love FHC’s customer service and support teams, and speaking to
    19 a live human when calling for customer support or to obtain a quote or place an order.
    20 FHC’s customers also appreciate that they are open on Saturdays, and there are
    21 generally short lead times and same-day shipping for products.
    22                            FIRST COUNTERCLAIM FOR RELIEF
    23                  [Declaration of Non-Infringement of U.S. Patent No. 9,074,413]
    24            21.      FHC incorporates by reference the allegations contained in Paragraphs 1-
    25 21 of these counterclaims, set forth above.
    26            22.      On March 4, 2022, CRL filed a Third Amended Complaint [ECF Dkt.
    27 85], naming FHC as a defendant and alleging infringement of U.S. Patent No.
    28 9,074,413 (“the ’413 Patent”).

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     1            23.      The Third Amended Complaint alleges that FHC infringes the ’413
     2 Patent by manufacturing, using, selling, offering for sale, and/or importing the Herc-
     3 Door® door rail system.
     4            24.      FHC has not infringed, contributed to the infringement of, or induced
     5 any infringement of any valid and enforceable claim of the ’413 Patent. For example,
     6 independent claim 1 of the ’413 Patent requires, among other elements, a “spring
     7 action clamping member.” The Herc-Door® door rail system lacks a spring action
     8 clamping member or anything equivalent to a spring action clamping
     9 member. Among other things, the alleged “spring action clamping member”
    10 identified in the Third Amended Complaint does not act through spring action and
    11 thus is not within the scope of independent claim 1 of the ’413 Patent. The Herc-
    12 Door® door rail system lacks other claim limitations of the ’413 Patent.
    13            25.      An actual and justiciable controversy exists between CRL and FHC
    14 regarding CRL’s allegations of infringement of the ’413 Patent.
    15            26.      Pursuant to 28 U.S.C. §§ 2201 and 2202, FHC is entitled to a declaratory
    16 judgment that FHC has not infringed, contributed to the infringement of, or induced
    17 any infringement of any valid and enforceable claim of the ’413 Patent.
    18
    19                           SECOND COUNTERCLAIM FOR RELIEF
    20                       [Declaration of Invalidity of U.S. Patent No. 9,074,413]
    21            27.      FHC incorporates by reference the allegations contained in Paragraphs 1-
    22 28 of these counterclaims, set forth above.
    23            28.      The claims of the ’413 Patent are invalid for failure to satisfy one or
    24 more of the conditions for patentability specified in Title 35 of the United States
    25 Code, including, without limitation, 35 U.S.C. §§ 102, 103, and 112. For example,
    26 one or more claims of the ’413 Patent is or are anticipated and/or rendered obvious at
    27 least in view of U.S. Patent No. 6,434,905 to Sprague, alone or in combination with
    28 other prior art, such as U.S. Patent No. 7,493,673 to Garrett (“Garrett”), U.S. Patent

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     1 No. 5,069,010 to Trainor, et al. (“Trainor”), U.S. Patent No. 7,302,780 to Sprague
     2 (“Sprague ’780”), and the Applicant’s Admitted Prior Art in the “Background of the
     3 Invention” section of the ’413 Patent (“AAPA”). As an additional example, one or
     4 more claims of the ’413 Patent is or are anticipated and/or rendered obvious at least in
     5 view of French Patent Publication No. FR2367178A1 to Girardy, alone or in
     6 combination with other prior art, such as Garrett, Trainor, Sprague ’780, and the
     7 AAPA. On information and belief, the claims of the ’413 Patent are anticipated
     8 and/or rendered obvious in view of other prior art.
     9            29.      An actual and justiciable controversy exists between CRL and FHC
    10 regarding the validity of the ’413 Patent.
    11            30.      Pursuant to 28 U.S.C. §§ 2201 and 2202, FHC is entitled to a declaratory
    12 judgment that the claims of the ’413 Patent are invalid.
    13                                        PRAYER FOR RELIEF
    14            FHC prays that the Court:
    15            1.       Enter judgment in favor of FHC and against CRL on all Claims for
    16                     Relief;
    17            2.       Award all costs, fees and expenses as provided by statute, common law
    18                     or equity; and
    19            3.       Order all such other and further relief as this Court deems just and
    20                     proper.
    21
    22 Dated: March 18, 2022                  SHEPPARD MULLIN RICHTER & HAMPTON LLP
    23
                                              By                  /s/ Kent R. Raygor
    24                                                           KENT R. RAYGOR
    25                                               Attorney for Defendant and Counterclaimant
                                                    FRAMELESS HARDWARE COMPANY LLC,
    26                                             and for Defendants CHRISTOPHER HANSTAD,
                                                         JESUS “JESSE” DORADO, BARRY
    27                                               SUTHERLAND, GLASSWERKS LA, INC.,
                                                              and RANDY STEINBERG
    28

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